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                  EXHIBIT A
Case 2:20-cv-02920-DSF-AS Document 1-1 Filed 03/27/20 Page 2 of 31 Page ID #:20
                                                                                   ORIGI\AL
   1   LAW OFFICES OF WAYNE S. KREGER, P.A.                                   EILED
       WAYNE S. KREGER, California Bar No. 154759                      Superior Court of California
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  3
       Santa Monica, California 90401
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       Facsimile (310) 917-1001
  5
       Attorneys for Plaintiffs                                                   VEN OREW
  6

  7

  8                         SUPERIOR COURT OF THE STATE OF CALIFORNIA

  9                                  FOR THE COUNTY OF LOS ANGELES
 10
 11    BEN PIAZZA; JOEL BINGER; KEVIN                   Case No.       19STCV42511
       BELLOTTI; JIMMY VELARDE; WAYNE
 12    GETCHELL; NANCY PERRY; EDWARD                    ORIGINAL COMPLAINT AND JURY
       NELSON; RON NUGENT; DAVE GOLBA;                  DEMAND
 13    PETER MALLARD; FREDERICK SMITH;
       JULIAN   SALAS;   ROBERTO    BOSIO;              CAUSES OF ACTION:
 14
       RICHARD LABGOLD; DENISE STONES;
 15    LESLIE    NOURSE;    LINDA    RUSS;              [1]    INTENTIONAL       DISCRIMINATIO
       JERILYNNE   AKUTAGAWA;      BARBRA               (California Fair Employment and Housing Ac
 16    CIMO;   SHARON    O'DANIEL;   JODY               California Government Code § 12940(a)
       LAWRENCE-MILLER; VICKI KAUFMAN;                  12491)
 17    TRACY LAWRENCE; KENNETH LATKA;
       and MARC BERUTI,                                 [2] DISPARATE IMPACT DISCRIMINATIO
 18
                                                        (California Fair Employment and Housing Ac
 19                           Plaintiffs,               California Government Code § 12940(a)
               VS.                                      12491)
 20
       CBS BROADCASTING, INC.; TELEVISION               [3] UNFAIR COMPETITION LAW (Violatio
 21    CITY STUDIOS, LLC; TELEVISION CITY               of Business & Professions Code §§ 17200 e
       SERVICES,  LLC;   TELEVISION    CITY             seq.)
 22
       PRODUCTIONS, LLC; MICHAEL HACKMAN
 23    & ASSOCIATES; HACKMAN CAPITAL                    [4] DECLARATORY RELIEF
       PARTNERS, LCC; and DOES 1 through 10,
 24    inclusive,
 25                           Defendants.
 '76
 '17



 28



                                     ORIGINAL COMPLAINT AND JURY DEMAND
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             Plaintiffs BEN PIAZZA; JOEL BINGER; KEVIN BELLOTTI; JIMMY VELARDE;
  1

  2   WAYNE GETCHELL; NANCY PERRY; EDWARD NELSON; RON NUGENT; DAVE GOLBA;

  3   PETER MALLARD; FREDERICK SMITH; JULIAN SALAS; ROBERTO BOST°, RICHARD
  4   LABGOLD; DENISE STONES; LESLIE NOURSE; LINDA RUSS; JERILYNNE AKUTAGAWA;
  5
      BARBRA CIMO; SHARON O'DANIEL; JODY LAWRENCE-MILLER; VICKI KAUFMAN;
  6
      TRACY LAWRENCE; KENNETH LATKA; and MARC BERUTI (collectively "Plaintiffs") allege
  7
      as follows against Defendants CBS BROADCASTING, INC. ("CBS"); TELEVISION CITY
  8
  9   STUDIOS, LLC; TELEVISION CITY SERVICES, LLC; TELEVISION CITY PRODUCTIONS,

 10   LLC ("Television City"); MICHAEL HACKMAN & ASSOCIATES; HACKMAN CAPITAL

 11   PARTNERS, LCC ("Hackman"); and DOES 1 through 10 (collectively "Defendants") as follows:
 12                                          INTRODUCTION
 13
             1.     Plaintiffs are 25 distraught employees of CBS who have been betrayed by Defendants
 14
      despite a combined 917 years of service building Television City in the Fairfax District of Los
 15
      Angeles into the major media empire that it is today. Since the 1970s, Plaintiffs worked between 26
 16
 17   and 53 years in various capacities such as Film Editor, Video Editor, Studio Technician, Video Tape

 18   Technician, Camera Operator, Electronic Graphics Engineer, Human Recourses Representative,

 19   Technical Operations, Audio &. Video Operator, Stage Operator, Stage Electronics and Head of Hair
 20   and Make-Up, among many other roles on countless productions in genres including news, sports,
 21
      promos, the Winter Olympics, game shows, and some of the highest rated daytime dramas in the
 22
      country. A sample of Plaintiffs' numerous production credits include The Bold and the Beautiful,
 23
      The Young and the Restless, the Bill Maher Show, The Late Late Show With James Cordon, The
 74

 25   Price Is Right, Dancing With The Stars, American Idol, The Steve Harvey Show, Carol Burnett

 26   Show, Politically Incorrect, Rose Parade, Disney Thanksgiving Parade, Dennis Miller "Live", Major
 27   League Baseball, National Football League, American Football League, National Basketball
 28
                                                  2
                                 ORIGINAL COMPLAINT AND JURY DEMAND
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       Association, Democratic Convention, Republican Convention and the Olympics. Plaintiffs have won
   1
       66 Emmys and many other prestigious awards for their work.

              2.      Plaintiffs have always been dedicated employees of CBS and have never expected

  4    more than a good paycheck, job security and competitive benefits in return for their hard work and
  5
       loyalty. CBS demanded exclusivity from Plaintiffs, while at the same time often hiring temporary
  6
       employees who in some cases had previously worked for CBS' competitors. Many Plaintiffs have
  7
       given their entire professional lives to CBS, working there in excess of 30, 40 years, contributing
  8
  9    mightily to CBS' and Television City's success, respect and profit.

 10           3.      Yet without warning in late-2018, CBS cashed in on Plaintiffs' sweat and talent when

 11    it sold Television City to Hackman, a local real estate developer, for $750 Million, quite a return on
 12    what was originally a $7 Million investment in the 1950s. Plaintiffs' shock and dismay escalated
 13
       dramatically when, in January, 2019, CBS suddenly told Plaintiffs that they would no longer work
 14
       for CBS in 2020. CBS Senior Vice President of West Coast Operations Mike Klausman directly told
 15
       Plaintiffs they were simply "traded to Hackman like baseball players get traded to another team" and
 16

 17    that all such decisions on future employment, compensation and buyouts would be solely up to

 18    Hackman. Klausman now works for Hackman.

 19           4.      Then the very next day after escrow closed on the sale of Television City to
 20    Hackman, on February 1, 2019, CBS offered a lucrative buyout to all of its employees throughout
 21
       the United States who qualified under its 80 point system; while all of the Plaintiffs herein met the
 ry?
       80 point criteria, none of them were offered the buyout in an unfair and discriminatory decision
 23
       based on their age but under the guise of CBS' decision that Plaintiffs would no longer be CBS
 24

 25    employees in 2020. The savings to CBS from this illegal act is in the tens of millions of dollars.

 26           5       What's more, Plaintiffs' mere employment status with Hackman (via the trades) is

 27    unclear because while Hackman promised to continue Television City's operations for another five
 28
       years, the theory is that production operations will be scaled back or terminated as the Television
                                                          3
                                   ORIGINAL COMPLAINT AND JURY DEMAND
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     City lot becomes a modern mixed-use real estate holding including residential development as

     required by the Los Angeles City Council. despite Michael Hackman acknowledging without citing

     the attributions of its new employees that "Television City was built in 1952 and literally put

     television production on the map in Los Angeles."

             6.      The lack of clarity about Plaintiffs' status, and the status of their employment,

     compensation and benefits was further muddled by the fact that many of Plaintiffs' colleagues who

     worked in the same departments over the same years within the same demographic group did in fact

     receive generous buyout packages to retire early. CBS continues to send Plaintiffs emails regarding

     the merger of CBS and Viacom and how prosperous their futures will be and other emails regarding

     Plaintiffs' CBS medical benefits. At the same time, Haclanan's managers began to send Plaintiffs

     emails containing questionnaires about the kind of insurance they would like along with other

     Hackman benefits while at the same time, nobody at Hackman will even confirm that Plaintiffs are

     employed with them.

             7.      This civil direct action seeks monetary damages, restitution, injunctive and

     declaratory relief from CB arising from its deceptive, fraudulent and illegal acts. CBS violated (and

     continues to violate) [1] Intentional Discrimination (California Fair Employment and Housing Act

     California Government Code § 12940(a), 12491); [2] Disparate Impact Discrimination (California

     Fair Employment and Housing Act California Government Code § 12940(a), 12491); [3] Unfair

     Competition Law (Violation of Business & Professions Code §§ 17200 et seq.); and Plaintiffs also

     seek [4] Declaratory Relief against all Defendants. Plaintiffs have together suffered damages in the

     tens of millions of dollars.

                                                   PARTIES

             8.      Plaintiffs Ben Piazza ("Piazza") is an individual and a citizen of the City of Pacific

     Palisades, County of Los Angeles, State of California. Piazza began working for CBS in 1974 and

     has held various job titles with CBS including Film Editor, Video Tape Technician and Studio
                                                       4
                                    ORIGINAL COMPLAINT AND JURY DEMAND
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        Technician. Piazza's "Combined Age Plus Years of Service" is 114 but he was not offered the
   I

   2    buyout that is the subject of this lawsuit.

   :3           9.         Plaintiffs Joel Binger ("Binger") is an individual and citizen of the Town of Lake
   4    Balboa, County of Los Angeles, State of California. Binger began working for CBS in 1988 and has
   5
        held various job titles with CBS including Studio Technician and Camera Operator. Binger 's
   6
        "Combined Age Plus Years of Service" is 101 but he was not offered the buyout that is the subject
   7
        of this lawsuit.
   8
                10.        Plaintiffs Kevin Belliotti ("Belliotti") is an individual and citizen of the. City of West
   9
 10     Hills, County of Los Angeles, State of California. Belliotti began working for CBS in 1980 and held

 11     the job title of Electronic Graphics Engineer. Belliotti's "Combined Age Plus Years of Service" is
 12_    104 but he was not offered the buyout that is the subject of this lawsuit.
 13
                11.        Plaintiffs Jimmy Velarde ("Velarde") is an individual and a citizen of the Town of
 14
        Kagel Canyon, County of Los Angeles, State of California. Velarde began working for CBS in 1989
 15
        and held the job title of Camera Operator. Velarde's "Combined Age Plus Years of Service" is 90
 16
 17     but he was not offered the buyout that is that subject of this lawsuit.

 18             P.         Plaintiffs Wayne Getchell ("Getchell") is an individual and citizen of the City of Los

 19     Angeles, County of Los Angeles, State of California. Getchell began working for CBS in 1987 and
 20     held tiic job title of Studio Technician. Getchell's "Combined Age Plus Years of Service" is 96 but

        he was not offered the buyout that is the subject of this case.

                13.        Plaintiffs Nancy Perry ("Perry") is an individual and citizen of the Town of Sherman

        Oaks, County of Los Angeles, State of California. Perry began working for CBS in 1988 and has
 `),4
 25     held various job titles with CBS including Human Recourses Representative and Technician. Perry's

 26     "Combined Age Plus Years of Service" is 90 but she was not offered the buyout that is the subject of
   7
        this lawsuit.
 18
                14.        Plaintiffs Edward Nelson ("Nelson") is an individual and a citizen of the Town of
                                                         5
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     Sherman Oaks, County of Los Angeles, State of California. Nelson began working for CBS in 1988

     and has held various job titles with CBS including Technician and Camera Operator. Nelson's

     "Combined Age Plus Years of Service" is 93 but he was not offered the buyout that is the subject of

     this lawsuit.

             15.     Plaintiffs Ron Nugent ("Nugent") is an individual and a citizen of the City of

     Pasadena, County of Los Angeles, State of California. Nugent began working for CBS in 1979 and

     held the job title Stage Operations and Stage Electronics. Nugent's "Combined Age Plus Years of

     Service" is 106 but he was not offered the buyout that is the subject of this lawsuit.

             16.     Plaintiffs Dave Golba ("Golba") is an individual and a citizen of the City of Simi

     Valley, County of Ventura, State of California. Golba began working for CBS in 1983 and held the

     job title Audio Tech. Golba's "Combined Age Plus Years of Service" is 95 but he was not offered

     the buyout that is the subject of this lawsuit.

             17.     Plaintiffs Peter Mallard ("Mallard") is an individual and citizen of the Town of Van

     Nuys, County of Los Angeles, State of California. Mallard began working for CBS in 1987 and held

     the job title of Studio Tech. Mallard's "Combined Age Plus Years of Service" is 93 but he was not

     offered the buyout that is the subject of this lawsuit.

             18.     Plaintiffs Frederick Smith ("Smith") is an individual and a citizen of the City of

     Carson, County of Los Angeles, State of California. Smith began working for CBS in 1978 and held

     the job title VTR Technician. Smith's "Combined Age Plus Years of Service" is 104 but he was not

     offered the buyout that is the subject of this lawsuit.

             19.     Plaintiffs Julian Salas ("Salas") is an individual and citizen of the City of South El

     Monte, County of Los Angeles, State of California. Salas began working for CBS in 1976 and held

     the job title of Technician. Salas' "Combined Age Plus Years of Service" is 109 but he was not

     offered the buyout that is the subject of this lawsuit.

             20..    Plaintiffs Roberto Bosio ("Bosio") is an individual and citizen of the City of
                                                          6
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       Pasadena, County of Los Angeles, State of California. Bosio began working for CBS in 1979 and
   1
       held the job title of Video Technician. Bosio's "Combined Age Plus Years of Service" is 106 but he

       was not offered the buyout that is the subject of this lawsuit.
  4               21.     Plaintiffs Richard Labgold ("Labgold") is an individual and citizen of the City of
  5
       Calabasas. County of Los Angeles, State of California. Labgold began working for CBS in 1979 and
  6
       held various job titles with CBS including Technical Operations and Video Operator. Labgold's
  7
       "Combined Age Plus Years of Service" is 105 but he was not offered the buyout that is the subject
  8
       of this lawsuit.
  9
 10               27.     Plaintiffs Denise Palm Stones ("Stones") is an individual and a citizen of the City of

 11    Playa del Rey, County of Los Angeles. State of California. Stones began working for CBS in 1988
 17    and held the job title Audio Technician. Stones' "Combined Age Plus Years of Service" is 99 but
 13
       she was not offered the buyout that is the subject of this lawsuit.
 14
                  73.     Plaintiffs Leslie Nourse ("Nourse") is an individual and citizen of the City of San
 15
       Pedro, County of Los Angeles, State of California. Nourse began working for CBS in 1979 and has
 16

 17    held various job titles with CBS including Technician and Camera Operator. Nourse's "Combined

 18    Age Plus Years of Service" is 106 but he was not offered the buyout that is the subject of this

 1.9   lawsuit.
 70            24.        Plaintiffs Linda Russ ("Russ") is an individual and citizen of the City of West
 21
       Hollywood,. County of Los Angeles, State of California. Russ began working for CBS in 1966 and
 72
       held the job title of Manager Facilities Operations. Russ' "Combined Age Plus Years of Service" is
 22,
       122 but she was not offered the buyout that is the subject of this lawsuit
 74
 25               25.     Plaintiffs Jerilynne Akutagawa ("Akutagawa") is an individual and a citizen of the

 26    City of Culver City, County of Los Angeles, State of California. Akutagawa began working for CBS
 -)7
       in 1989 and has held various job titles with CBS including MGR Scheduling and Stage Operator.
 28
       Akutagawa 's "Combined Age Plus Years of Service" is 96 but she was not offered the buyout that is
                                                            7
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     that subject of this lawsuit.

             26.     Plaintiffs Barbara Cimo ("Cimo") is an individual and a citizen of the City of

     Valencia, County of Los Angeles, State of California. Cimo began working for CBS in 1969 and

     held the job title of Coordinator. Cimo's "Combined Age Plus Years of Service" is over 115 years

     but she was not offered the buyout that is that subject of this lawsuit.

             27.     Plaintiffs Sharon O'Daniel ("O'Daniel") is an individual and citizen of the City of

     Los Angeles, County of Los Angeles, State of California. O'Daniel began working for CBS in 1979

     and held the job title of Studio Technician. O'Daniel's "Combined Age Plus Years of Service" is

     110 but she was not offered the buyout that is the subject of this lawsuit.

             28.     Plaintiffs Jody Miller ("Miller") is an individual and citizen of the City of Simi

     Valley, County of Ventura, State of California. Miller began working for CBS in 1985 and has held

     various job titles with CBS including Department Head of Hair and Depai ment Head of Hair and

     Make-up. Miller's "Combined Age Plus Years of Service" is 102 but she was not offered the buyout

     that is the subject of this lawsuit.

             29.     Plaintiffs Vicki Kaufman ("Kaufman") is an individual and a citizen of the City of

     Redondo Beach, County of Los Angeles, State of California. Kaufman began working for CBS in

     1993 and held the job title Videotape Tech. Kaufrnan's "Combined Age Plus Years of Service" is 89

     but she was not offered the buyout that is the subject of this lawsuit.

             30.     Plaintiffs Tracy Lawrence ("Lawrence") is an individual and a citizen of the City of

     Sherman Oaks, County of Los Angeles, State of California. Lawrence began working for CBS in

     1987 and held the job title Technical Director and Camera. Lawrence's "Combined Age Plus Years

     of Service" is 98 but she was not offered the buyout that is the subject of this lawsuit.

             31.     Plaintiffs Kenneth Latka ("Latka") is an individual and a citizen of the City of

     Tarzana, County of Los Angeles, State of California. Latka began working for CBS in 1983 and held

     the job title Audio Tech. Latka's "Combined Age Plus Years of Service" is 95 but he was not
                                                  8
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      offered the buyout that is the subject of this lawsuit.

              32.     Plaintiffs Marc Beruti ("Beruti") is an individual and a citizen of the City of West

      Covina, County of Los Angeles, State of California. Beruti began working for CBS in 1985 and held

      the job title Technician/Editor Media Operations and Assistant Supervisor Media Operations.

      Beruti's "Combined Age Plus Years of Service" is 98 but he was not offered the buyout that is the

      subject of this lawsuit.

              33.     Plaintiffs are informed and believe, and upon such information and belief allege,

      Defendant CBS BROADCASTING, INC. ("CBS") is a New York corporation with its principal

      executive offices located at 51 West 52nd Street, New York, New York 10019 and its nerve center

      and California headquarters located at 7800 Beverly Boulevard Los Angeles, California 90036. At

      all times referenced in this lawsuit, CBS, independently and jointly, employed more than 5 persons

      and are employers as defined in the California Fair Employment and Housing Act ("FEHA").

              34.     Plaintiffs are informed and believe, and upon such information and belief allege,

      Defendants TELEVISION CITY STUDIOS. LLC; TELEVISION CITY SERVICES, LLC;

      TELEVISION CITY PRODUCTIONS, LLC ("Television City") are Delaware corporations with

      their headquarters and nerve center located at 11111 Santa Monica Boulevard, Suite 1100, Los

      Angeles, California 90025. At all times referenced in this lawsuit, Television City, independently

      and jointly, employed more than 5 persons and are employers as defined in FEHA.

              35.     Plaintiffs are informed and believe, and upon such information and belief allege,

      Defendants MICHAEL HACKMAN & ASSOCIATES and HACKMAN CAPITAL PARTNERS,

      LCC ("Hackman") are a California corporation and limited liability company, respectively, with

      their headquarters and nerve center located at 11111 Santa Monica Boulevard, Suite 1100, Los

      Angeles, California 90025. At all times referenced in this lawsuit, Hackman, independently and

     jointly, employed more than 5 persons and are employers as defined in FEHA.

              36.     The names and capacities, whether individual, corporate, associate or otherwise of
                                                           9
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       other defendants and their alter egos sued herein as Does 1-10, inclusive, are presently unknown, and
   1
       Plaintiffs will amend the Complaint to insert the same when ascertained. Plaintiffs are informed and

  3    believe, and based thereon allege, that each of these defendants was a resident of the County of Los
  4    Angeles, California and/or have their nerve center and/or principal offices or were doing business in
  5
       said county and state and are in some way responsible for the happenings and damages alleged in
  6
       this Complaint.
  7
               37.     Plaintiffs are informed and believe, and based thereon allege, that each of the
  8
  9    Defendants named herein was an agent and an employee of the remaining Defendants and was at all

 10    times acting within the scope of said agency and employment in doing the acts herein alleged.

 11                                        JURISDICTION AND VENUE
 12            38.     Jurisdiction over this proceeding in California is pursuant to Article VI, section 10 of
 1.3
       the California Constitution, which grants the state courts "original jurisdiction in all causes except
 14
       those given by statute to other trial courts." The statutes under which this action is brought do not
 15
       specify any other basis for jurisdiction.
 16
 17            39.     The California Superior Court has jurisdiction over Defendants because they are

 18    California citizens with more than sufficient minimum contacts and nerve center(s) within

 19    California, and/or entities that have otherwise intentionally availed themselves of the California
 20    market so as to render the exercise of jurisdiction over them by the California Superior Court
 71
       consistent with traditional notions of fair play and substantial justice. Furthermore. Defendants have
 77
       purposefully availed themselves of the benefits and protections of the laws within the State of
 23
       California, having sufficient contacts such that the exercise of jurisdiction would be consistent with
 24
 25    traditional notions of fair play and substantial justice.

 76            40.     Venue is appropriate in Los Angeles County as Defendants' primary business

 27    headquarters and their principal places of business are located in Los Angeles County; Plaintiffs are
 28
       also mostly residents and domiciled in Los Angeles County; and all of the events alleged in this
                                                     lo
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      lawsuit occurred in Los Angeles County.

             41.    The California Superior Court at the Stanley Mosk Courthouse has jurisdiction over

      this case because the amount in controversy is in excess of the minimal jurisdictional limits of the

      California Superior Court; Permissive filing in the Mosk Courthouse is specifically authorized by

      Los Angeles County Local Rule 2.0.; and this case is deemed "provisionally complex" upon filing in

      Mosk with a designation for assignment to the Spring Street Courthouse, having so indicated on the

      Civil Cover Sheet and upon payment of the Complex Fees, pursuant to California Rules of Court,

      rules 3.400(c) and 3.401-3.402.

                                          LEGAL ALLEGATIONS

             42.    Congress passed the Age Discrimination in Employment Act (ADEA) of 1967 to

      address the practice of employment discrimination against older workers. It applies to employers

      with 20 or more full-time or regular part-time employees for each working day, in each of 20 or

      more calendar weeks, in either the current or preceding calendar year. The ADEA prohibits

      discrimination in employment against workers age 40 or older and makes it unlawful for an

      employer to discharge any individual or otherwise to discriminate against any individual with

      respect to his or her compensation, terms, conditions or privileges of employment. Under the

      "Company Voluntary Buyouts" section of the law, it clearly states "similarly situated employees

      have to be treated equally." The United States Supreme Court has held that the threshold burden of

      disparate treatment may be proved by circumstantial evidence.

             43.    The ADEA incorporate the enforcement and remedial provisions of the Fair Labor

      Standards Act ("FLSA"). FLSA remedies include awards for backpay, reinstatement or front pay.

      The amount of front pay may be affected by the lack of availability of employment opportunities

      open to the fired employee. In addition, the employee may be entitled to an additional amount in

      liquidated damnes upon establishing that the employer's actions were willful. Indeed such an award



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         is mandatory upon a finding, of willfulness. If the ex-employee is successful in his or her ADEA

   2     case, they may also recover attorney fees.

   3            44.     In 1990, Congress amended the Age Discrimination in Employment Act of 1967
   4     ("ADEA") by passing the Older Workers Benefit Protection Act ("OWBPA") to curtail the practice
   5
         of large employers using their overwhelming economic leverage to coerce and manipulate older
   6
         workers. The OWBPA mandates strict, minimum requirements for employers to obtain a valid
   7
         waiver of "any right or claim" under the ADEA when workers are let go in a group layoff. Among
   8
         other pre-requisites for valid waivers, the employer must provide critical information to help laid-off
   9
 10      workers determine whether they have been discriminated against as a group because of their age (the

 11      "OWBPA comparator information"). The OWBPA comparator information includes the criteria
 12      used to select employees for layoffs and the ages and job titles of everyone in their unit who was
 13
         selected for layoff and everyone in their unit who was spared. As the Supreme Court has explained,
 14
         the OWBPA implements "a strict, unqualified statutory stricture on waivers" so that lain employee
 15
         'may not waive' an ADEA claim unless the employer complies with the statute." Oubre y. Entergy
 16
 17      Operations, Inc., 522 U.S. 422, 427 (1998). To this end, "[t]he OWBPA sets up its own regime for

 18      assessing the effect of ADEA waivers, separate and apart from contract law . . . [and] creates a series

  19     of prerequisites for knowing and voluntary waivers." Id.
 20             45.     The California Fair Employment and Housing Act also prohibits age discrimination
 21
         in employment and its remedies are in addition to those under federal law. With the FEHA, the fired

         employee is also be eligible to receive damages for emotional distress as well as punitive damages.

         The FE}-IA applies to all employers with five or more employees. And as with the federal rules.
 74
 25      discrimination based on age over 40 is prohibited.

                46.     Barrentine v. Arkansas-Best Freight System, 450 U.S. 728 (1981) made clear that
 -'726
         statutory claims are not pre-empted by arbitration agreements in the unionized workplace. In 2005.
 28
         the 3rd District Court of Appeal applied the same rule to California wage and hour laws in Cicairos
                                                              12
                                     ORIGINAL COMPLAINT AND JURY DEMAND
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      v. Summit Logistics Inc., 133 Cal.App.4th 949 (2005). Simply put, rights granted by collective

      bargaining agreements are contractual in nature, whereas statutory rights are minimum labor

      standards that are nonnegotiable and cannot be pre-empted by federal labor law. This applies

      whether the claim is for wage and hour violations, as in Zavala v. Scott brothers Dairy, Inc., 143

      Cal.App.4th 585 (2006) or other violations of statutory rights, such as discrimination. Wright v.

      Universal Maritime Service Corp., 525 U.S. 70 (1998).

             47.     Although California Government Code § 12965(b) provides that individuals must

      exhaust their administrative remedies with the DFEH by filing a complaint and obtaining a "right-to-

      sue notice" from the Department before filing a lawsuit, the DFEH, however, will accept requests for

      an immediate "right-to-sue-notice" from persons who have decided to proceed in court. Plaintiffs

      received their Right to Sue Letters on November 26, 2019 and will be filing an Administrative

      Charge(s) with the EEOC as an administrative prerequisite to asserting claims under the ADEA and

      will file an amended complaint to include claims under the ADEA at the appropriate time.

                                         FACTUAL ALLEGATIONS

             48.     Television City was built in the early 1950s by the CBS Television Network as its

      West Coast production facility. The networks gradually saw the potential of Hollywood as a locale

      to make programs since it was already home to the motion picture industry and its cavalcade of stars

      and creative talent. Television City was a racetrack and former oil field on Beverly Boulevard near

      downtown Los Angeles. CBS opened its new $7 million Hollywood production and office facility,

      Television City. on November 15, 1952. Television City was a state-of-the-art facility geared for live

      as well as delayed telecast of programs and its four studios -- 31, 33, 41 and 43. Executive and

      production offices were placed in the upper levels, and technical operations were centered on the

      ground floor. Two studios, 31 and 33, had permanent audience seating; the audience area was

      depressed relative to stage level. Movable audience seating was arranged in Studios 41 and 43 as

      needed and a scene dock was centrally located to serve all four adjoining studios. In the mid-1980s,
                                                        13
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      CBS built an annex to Television City to house two additional large studios, 36 and 46. Later,

      upstairs rehearsal halls in the main building were converted into Studios 56 and 581.

             49.      As legend has it, when Television City opened in 1952, CBS offered its employees at

      the previous studio location known as Columbia Square a choice to either remain at Columbia

      Square or go to thc new Television City location, presumably without a reduction in benefits.

      Television City is considered by many in the business to be the best television production facility on

      the West Coast.

              50.     Plaintiffs began to work for CBS at Television City all the way back in 1969 and

      throughout the 1970s, continuing uninterrupted for almost 1,000 combined years between them.

              51.     After the sale of Television City to Hackman in 2019, on or about February 13, 2019,

      CBS offered their entire approximately 1,500 strong union and non-union employee base throughout

      the United States who met the 80 point criteria a generous voluntary buyout offer of two weeks for

      every year worked with the only qualification requirement being that employees are only eligible if

      their age added to years of service equaled at least 80.

              52.     All 25 Plaintiffs in this case are over 40 years old and exceed the 80 age/year

      threshold. Depending on various individual factors, the average Plaintiffs in this case worked at

      Television City for approximately 36 years and would be entitled to approximately $150,000 per the

      buyout offer. Unfortunately, CBS decided to exclude about 61 otherwise qualified Television City

      employees on the sole stated grounds that they are instead "covered by the transition to Hackman

      Properties" despite Plaintiffs never having received any confirmation that they are in fact or will be

      Hackman employees or even any paperwork or documents from Hackman about their status. Since

      CBS has already stated that Plaintiffs "are still full CBS employees until January 2020," their

      exclusion from the buyout offer in 2019 is clearly pretextual and illegally and disparately

      discriminates against Plaintiffs on the basis of their ages.

       https://www.j-shea.com/TVCity/History.html
                                                          14
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             53.     In fact, CBS provided the buyout option to Victor Guitierez a favored department

      head of Engineering and Construction who is an IBEW union member and whose department is

      going Hackman, and they did so by unilaterally designating him as "still CBS" so he could get the

      buyout. Every Plaintiffs is in the exact same situation as this department head, and yet he received

      the buyout and Plaintiffs did not.

             54.     CBS' Human Resources Director Ernest Liggins told Plaintiffs that the reason CBS

      chose to exclude Plaintiffs who will be working for Hackman in 2020 is to avoid Hackman losing

      crew members by guaranteeing that Plaintiffs will make the transition and Kevin Oldis, the Senior

      Vice President of CBS Human Resources emailed Plaintiffs on May 1, 2019 stating that "none of

      [Plaintiffs] on loan to Hackman were eligible for the CBS voluntary buyout offer. . . because, as part

      of the sale agreement, CBS committed to taking reasonable steps to keep intact the TV City

      workforce."

             55.     Plaintiffs' union attorney, Joe Kaplan met several times with CBS' attorneys and

      attempted to overturn the buyout exclusion. Mr. Kaplan reported back to Plaintiffs that he was

      present and witnessed Hackman's CEO Chis Anderson having a heated conversation with Harry

      Marx, the chief CBS lawyer on the west coast. Anderson asked Marx why did CBS, the day after

      Hackman closed escrow on the $750 Million sale, immediately turn around and choose to exclude

      Plaintiffs from the generous companywide buyout "creating a serious problem for us as their future

      employer." Harry Marx said it was a stockholders' decision to exclude Plaintiffs because Plaintiffs

      could be designated to be employed by Hackman in 2020 so they didn't feel they would have to pay

      Plaintiffs anything. Out of the approximately 1,500 employees offered the buyout, 300 accepted it

      before it closed on May 31, 2019.

             56.     Every one of Plaintiffs in this lawsuit would have accepted the buyout (and still

      would) had it been offered to them in full.


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              57.    Joe Kaplan has informed Plaintiffs on behalf of their union, the IBEW, that the union
  1

  2   has waived its exclusive negotiating and collective bargaining rights to resolve this dispute with

  3   Defendants and has advised Plaintiffs who are union members that they may proceed with outside
  4   litigation counsel in the California Superior Court.
  5
                                              CAUSES OF ACTION
  6
                                   FIRST CAUSE OF ACTION against CBS
  7
                                     INTENTIONAL DISCRIMINATION
  8                              (California Fair Employment and Housing Act
  9                              California Government Code § 12940(a), 12491)

 10           58.    Plaintiffs incorporate and reallege by reference each and every allegation contained in

 11   the preceding Paragraphs as if set forth herein in full.
 12           59.    This cause of action is brought pursuant to California Government Code §12940(a)
 13
      and §12941 which prohibits discrimination against a person in terms, conditions or privileges of
 14
      employment on the basis of age, and the corresponding regulations of the California Fair
 15
      Employment and Housing Commission, or its successor.
 16

 17           60.    At all times herein mentioned, CBS, jointly and independently, employed five or

 18   more persons, bringing said Defendant employer within the provision of California Government

 19   Code §1.2900 et seq., prohibiting employers or their agents from discriminating against employees
 20
      on the basis of age.
 21
              61.    Plaintiffs timely filed charges with the DFEH and have thus exhausted their
 22
      administrative remedies.
 23
              62.    Plaintiffs are members of a protected class within the meaning of the aforementioned
 24
 25   Government Code sections because they are all over the age of 40 years old. At all relevant times

 26   herein, Plaintiffs satisfactorily performed all of their job duties and responsibilities as expected by
 27   CBS and, in fact, exceeded those expectations over the years, and all of them qualified for the
 28
      lucrative buyout by exceeding the 80 point criteria. Yet CBS wrongfully discriminated against them
                                                        16
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       on the basis of their age by denying them access to the buyout. CBS engaged in an intentional,
   1
       company-wide and systematic policy, pattern, and/or practice of discrimination against Plaintiffs and

   3   intentionally discriminated against Plaintiffs. CBS' conduct had an adverse impact on Plaintiffs as
   4   less discriminatory alternatives existed and would have equally served any alleged necessity
   5
       proffered by CBS.
   6
               63.     As a direct and proximate consequence of CBS' discriminatory conduct, Plaintiffs
   7
       have sustained and continue to sustain substantial loss in past, present and future earnings, career
   8
   9   opportunities, bonuses and other employment benefits including but not limited to access to the

 10    lucrative buyout in amounts to be proven at trial. Plaintiffs' damages include all consequential,

 11    general and special economic damages in amounts to be proven at trial and all appropriate attorneys
 12    fees, costs, fine and penalties.
 13
               64.     As a direct and proximate consequence of CBS' discriminatory conduct. Plaintiffs
 14
       have suffered physical, emotional and psychological injuries., along with pain and suffering.
  15
       Accordingly, compensatory damages are necessary in an amount to be proven at trial and all
  16
  17   appropriate attorneys fees, costs, fine and penalties.

  18           65.     The actions of CBS as alleged herein constitute oppression, fraud, or malice, as those

 19    terms are defined in California Civil Code § 3294, and were done wantonly, maliciously,
 20    oppressively, deliberately, with intent to defraud, and in reckless disregard of Plaintiffs' rights. CBS'
 21
       conduct warrants an assessment of punitive damages in an amount sufficient to deter such conduct in

       the future, which amount is to be determined according to proof at trial and all appropriate attorneys
 73
       fees, costs, fine and penalties.
 24
       //
 25

 26    ///
 27
 28
                                                           17
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                                 SECOND CAUSE OF ACTION against CBS

                                  DISPARATE IMPACT DISCRIMINATION
                                 (California Fair Employment and Housing Act
                                 California Government Code § 12940(a), 12491)

              66.    Plaintiffs incorporate and reallege by reference each and every allegation contained in

      the preceding Paragraphs as if set forth herein in full.

              67.    This cause of action is brought pursuant to California Government Code §12940(a)

      and §12941 which prohibits discrimination against a person in terms, conditions or privileges of

      employment on the basis of age, and the corresponding regulations of the California Fair

      Employment and Housing Commission, or its successor.

              68.    At all times herein mentioned, CBS, jointly and independently, employed five or

      more persons, bringing said Defendant employer within the provision of California Government

      Code §12900 et seq., prohibiting employers or their agents from discriminating against employees

      on the basis of age.

              69.    Plaintiffs timely filed charges with the DFEH and have thus exhausted their

      administrative remedies.

             70.     Plaintiffs are members of a protected class within the meaning of the aforementioned

      Government Code sections because they are all over the age of 40 years old. At all relevant times

      herein, Plaintiffs satisfactorily performed all of their job duties and responsibilities as expected by

      CBS and, in fact, exceeded those expectations over the years, and all of them qualified for the

      lucrative buyout by exceeding the 80 point criteria. Yet CBS wrongfully discriminated against them

      on the basis of their age by denyinv, them access to the buyout. CBS engaged in an intentional,

      company-wide and systematic policy, pattern, and/or practice of discrimination against Plaintiffs and

      intentionally discriminated against Plaintiffs. CBS' conduct had an adverse impact on Plaintiffs as

      less discriminatory alternatives existed and would have equally served any alleged necessity

      proffered by CBS.
                                                          18
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              71.     The foregoing policies, patterns, and/or practices have an unlawful disparate impact

      on Plaintiffs ages 40 and older in violation of Government Code sections 12940(a), 12941.

              72.     As a direct and proximate consequence of CBS' discriminatory conduct, Plaintiffs

      have sustained and continue to sustain substantial loss in past, present and future earnings, career

      opportunities, bonuses and other employment benefits including but not limited to access to the

      lucrative buyout in amounts to be proven at trial. Plaintiffs' damages include all consequential,

      general and special economic damages in amounts to be proven at trial and all appropriate attorneys

      fees, costs, fine and penalties.

              73.     As a direct and proximate consequence of CBS' discriminatory conduct, Plaintiffs

      have suffered physical, emotional and psychological injuries, along with pain and suffering.

      Accordingly, compensatory damages are necessary in an amount to be proven at trial and all

      appropriate attorneys fees, costs, fine and penalties.

              74.     The actions of CBS as alleged herein constitute oppression, fraud, or malice, as those

      terms are defined in California Civil Code § 3294, and were done wantonly, maliciously,

      oppressively, deliberately, with intent to defraud, and in reckless disregard of Plaintiffs' rights. CBS'

      conduct warrants an assessment of punitive damages in an amount sufficient to deter such conduct in

      the future, which amount is to be determined according to proof at trial and all appropriate attorneys

      fees, costs, fine and penalties.

                                    THIRD CAUSE OF ACTION against CBS

                                      (UNFAIR COMPETITION LAW
                      Violation of BUSINESS & PROFESSIONS CODE §§ 17200 et seq.)

              75.     Plaintiffs incorporate and reallege by reference each and every allegation contained in

      the preceding Paragraphs as if set forth herein in full.

              76.     CBS has committed unfair, unlawful and/or fraudulent business practices in violation

      of California Business & Professions Code §§ 17200 et seq. (the "UCL") through the fraudulent

                                                          19
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       representations and breaches described in this Complaint.

   2           77.     These misrepresentations and breaches constitute unfair, unlawful and fraudulent

   3   conduct and unfair competition in violation of the UCL.
   4           78.     CBS' conduct as described herein has been anti -competitive and injurious to other
   5
       companies which complied with the laws and policies violated by CBS as CBS' conduct provided an
   6
       unfair and illegal advantage in the marketplace as a result of, inter alia, saving CBS tens of millions
   7
       of dollars by discriminating against its own employees.
   8
               79.     The foregoing conduct by all Defendants has injured Plaintiffs by, inter alia,

  10   wrongfully denying them the financial advantages of the employment and the buyout they promised

  il   to Plaintiffs. As such. Plaintiffs are entitled to restitution, disgorgement and injunctive relief.
  12           80.     As a direct and proximate consequence of CBS' discriminatory conduct, Plaintiffs
  13
       have sustained and continue to sustain substantial loss in past, present and future earnings, career
  14
       opportunities, bonuses and other employment benefits including but not limited to access to the
  15
       lucrative buyout in amounts to be proven at trial. Plaintiffs' damages include all consequential,
  16
  17   general and special economic damages in amounts to be proven at trial and all appropriate attorneys

  18   fees, costs, fine and penalties.

  19           81.     As a direct and proximate consequence of CBS' discriminatory conduct. Plaintiffs
 20    have suffered physical, emotional and psychological injuries, along with pain and suffering.
  21
       Accordingly, compensatory damages are necessary in an amount to be proven at trial and all

       appropriate attorneys fees, costs, fine and penalties.
 23
               82.     The actions of CBS as alleged herein constitute oppression, fraud, or malice, as those
 24
 25    terms are defined in California Civil Code § 3294, and were done wantonly, maliciously,

 26    oppressively, deliberately, with intent to defraud, and in reckless disregard of Plaintiffs' rights. CBS'

 27    conduct warrants an assessment of punitive damages in an amount sufficient to deter such conduct in
 28
                                                            20
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           the future, which amount is to be determined according to proof at trial and all appropriate attorneys
      1
           fees, costs, fine and penalties.

      3                       FOURTH CAUSE OF ACTION against ALL DEFENDANTS
      4                                           (DECLARATORY RELIEF)
      5
                   83.     Plaintiffs incorporate and reallege by reference each and every allegation contained in
      6
           the preceding Paragraphs as if set forth herein in full.
      7
                   84.     A dispute has arisen and an actual controversy now exists between all Plaintiffs on
      8
           the one hand and all Defendants on the other hand, with respect to CBS wrongful and intentional
      9
 10        discrimination against Plaintiffs on the basis of their ages by denying them access to the buyout, and

 11        how CBS engaged in an intentional, company-wide and systematic policy, pattern, and/or practice of
 12        discrimination against Plaintiffs and intentionally discriminated against Plaintiffs as CBS' conduct
 13
           had an adverse impact on Plaintiffs as less discriminatory alternatives existed and would have
 14
           equally served any alleged necessity proffered by CBS.
 15
                   85.     Plaintiffs seek a Declaration by the Court as to the respective rights, duties and
 16
 17        obligations of all Defendants as to the matters herein alleged, and which Defendants, either

 18        individually, jointly and/or severally are responsible to employ and compensate Plaintiffs for the

 19        damages they've suffered as a result of CBS conduct.
 20                                                PRAYER FOR RELIEF
 21
                   WHEREFORE Plaintiffs pray for judgment and relief as follows:
      ')

                   1.      For a trial by Jury;

                   2.      Compensatory, actual and punitive damages. according to proof at trial:
 24
 ')                3       Disgorgement of profits, according to proof at trial:

 26                4.      Restitutionary relief, according to proof at trial;
 27                5.      Declaratory Relief;
 28
                   6.      Attorney's fees, costs and costs of suit, and
                                                                21
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           7.     Such other and further relief as the Court deems appropriate.



     Dated: November 27, 2019           LAW OFFICES OF WAYNE KREGER



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